            Case 1:19-cr-00253-TSE Document 259 Filed 05/22/20 Page 1 of 2 PageID# 1140
AO 83 (Rev. 06/09) Summons in a Criminal Case


                                      UNITED STATES DISTRICT COURT
                                                                for the
                                                      Eastern District of Virginia

                   United States of America                        )
                              v.                                   )
                                                                   )
                                                                   )      Case No. 1:19-cr-253
                Kristopher Lee Dallmann                            )
                                                                   )
                              Defendant                            )

                                                SUMMONS IN A CRIMINAL CASE

        YOU ARE SUMMONED to appear before the United States district court at the time, date, and place set forth
below to answer to one or more offenses or violations based on the following document filed with the court:

☐ Indictment               ☐ Superseding Indictment        ☐ Information     ☐ Superseding Information             ☐ Complaint
☐ Probation Violation Petition            ☒ Supervised Release Violation Petition ☐ Violation Notice            ☐ Order of Court


Place:      U.S. District Court                                                  Courtroom No.:         900
            401 Courthouse Square
            Alexandria Virginia 22314                                            Date and Time:         7/10/2020 @ 10:00 a.m.

        This offense is briefly described as follows:
See Attached Petition




Date:              5/22/2020                                                                  COPY
                                                                                     Issuing officer’s signature


                                                                                       Printed name and title



I declare under penalty of perjury that I have:

☐ Executed and returned this summons                            ☐ Returned this summons unexecuted




Date:
                                                                                         Server’s signature



                                                                                       Printed name and title
            Case 1:19-cr-00253-TSE Document 259 Filed 05/22/20 Page 2 of 2 PageID# 1141
AO 83 (Rev. 06/09) Summons in a Criminal Case (Page 2)

  Case No.
                                This second page contains personal identifiers and therefore should
                                     not be filed in court with the summons unless under seal.
                                                      (Not for Public Disclosure)

                                                         INFORMATION FOR SERVICE
Name of defendant/offender:
Last known residence:


Usual place of abode (if different from residence address):


If the defendant is an organization, name(s) and address(es) of officer(s) or agent(s) legally authorized to receive service of
process:


If the defendant is an organization, last known address within the district or principal place of business elsewhere in the
United States:


                                                            PROOF OF SERVICE
This summons was received by me on (date)                                             .

          ☐ I personally served the summons on this defendant                                                                 at
          (place)                                                       on (date)                                  ; or

          ☐ On (date)                                 I left the summons at the individual’s residence or usual place of abode
          with (name)                                                 , a person of suitable age and discretion who resides
          there, and I mailed a copy to the individual’s last known address; or

          ☐ I delivered a copy of the summons to (name of individual)                                                         ,
          who is authorized to receive service of process on behalf of (name of organization)
                                                                       on (date)                           and I mailed a copy to
          the organizations’s last known address within the district or to its principal place of business elsewhere in the
          United States; or

          ☐ The summons was returned unexecuted because:
                                                                                                                              .

I declare under penalty of perjury that this information is true.


Date returned:
                                                                                           Server’s signature



                                                                                          Printed name and title


Remarks:
